Case: 4:08-cr-00378-CDP   Doc. #: 155 Filed: 11/21/08   Page: 1 of 7 PageID #:
                                     399
Case: 4:08-cr-00378-CDP   Doc. #: 155 Filed: 11/21/08   Page: 2 of 7 PageID #:
                                     400
Case: 4:08-cr-00378-CDP   Doc. #: 155 Filed: 11/21/08   Page: 3 of 7 PageID #:
                                     401
Case: 4:08-cr-00378-CDP   Doc. #: 155 Filed: 11/21/08   Page: 4 of 7 PageID #:
                                     402
Case: 4:08-cr-00378-CDP   Doc. #: 155 Filed: 11/21/08   Page: 5 of 7 PageID #:
                                     403
Case: 4:08-cr-00378-CDP   Doc. #: 155 Filed: 11/21/08   Page: 6 of 7 PageID #:
                                     404
Case: 4:08-cr-00378-CDP   Doc. #: 155 Filed: 11/21/08   Page: 7 of 7 PageID #:
                                     405
